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                           EXHIBIT 1 
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                      DECLARATION OF DAVID J. SCANTLING

  STA TE OF OHIO
  COUNTY OF SUMMIT

  UPON OATH, THE DECLARANT STATES AS FOLLOWS:

  My name is David J. Scantling. I am over the age eighteen, of sound mind, and fully
  competent to make this Affidavit. The statements included in this Affidavit are based on my
  own personal knowledge.

  I am an independent technical consultant and enterprise architect. My areas of expertise
  include cyber-security, telecommunications networks, computer hardware and operating
  systems, databases, Internet protocols and routing, mobile computing, electronic warfare and
  the jamming of the radio frequency spectrum, and cryptography.

  Since March 2008, I have provided consulting services to various U .S. government and
  commercial clients through Scantling Technology Ventures, LLC ("STY"), Akron, Ohio, an
  Ohio limited liability company. I am the sole member and owner of STY.

  In support of my U .S. Government consulting work, I was adjudicated by the Department of
  Defense ("DoD'') for a Top Secret/Sensitive Compartmented Information ("TS/SCI")
  security clearance. My most recent counter-intelligence polygraph was conducted by the
  Defense Intelligence Agency ("DIA").

  An in-depth summary of my credentials, background and inexperience in cyber-security was
  previously submitted to the Court by way of Affidavit. I will forego repeating the entire
  background and qualifications, and incorporate them by reference.

   Given my experience as a contractor to the NSA and CIA, as a civilian employee of the
   DoD, and as a computer and telecommunications industry executive, I was retained by the
   Attkisson family to lead a team of forensic investigators to investigate the Advanced
   Persistent Threat ("APT") cyber-attack reportedly conducted against the Plaintiffs as
   referenced in the pleadings and in my prior Affidavit. I am intimately familiar with the
   systems, capabilities, tools, and resources used by Government agencies, including search
   capabilities.

   I have read the pleadings submitted surrounding the outstanding discovery disputes,
   including the arguments and issues raised by Verizon and the Government. I have also read
   the information submitted by the various federal agencies in response to subpoenas and meet
   and confer conferences. The pleadings, subpoenas, and information were provided to me by
   Plaintiffs' counsel, Mr. Tab Turner. I hereby state and affirm the following:

      A. The summary of forensic evidence provided in Plaintiffs' responsive filing is an
         accurate summary of forensic evidence the forensic teams uncovered as part of this
         project. The forensic work has confirmed, and is beyond dispute, that Government

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      actors conducted surveillance of Plaintiffs' electronic devices during the relevant
      time frame (2010-2015), and, by the Government's own admissions, no warrant
      directly naming Plaintiffs existed during the stated time frame.

   B. The forensic work is continuing on a daily basis. I personally participated with
      Plaintiffs' counsel in drafting the requests submitted to both Verizon and to the
      various Government agencies. The information sought by the requests is directly
      related to forensic attribution of the electronic surveillance and cyber-stalking
      incidents against Plaintiffs, which leads to identifying the actors involved carrying
      out the warrantless APT cyber-attack (so-called Doe defendants). I crafted the
      discovery requests with attribution as the focus of each request, and each request is
      narrowly tailored to the precise areas that are reasonably necessary for the forensics
      team to complete its work on attribution, which includes identification of potential
      Doe defendants. Without production of the requested information, it is not
       reasonably possible to complete the forensic investigation process and identify the
       Doe defendants.

   C. Moreover, at Mr. Turner's request, I very narrowly tailored the requests to seek only
      information necessary to the forensic investigation, necessary to assisting in the
      identification of possible Doe defendants, and necessary to define the tools, methods
      and sources of the APT cyber-attack that was carried out, all of which is directly
      aimed at identifying the actors involved in the electronic surveillance and cyber-
      stalking against Plaintiffs in the alleged violations of their rights under the First and
      Fourth Amendments of the Constitution.

    D. The information sought in Plaintiffs' discovery requests is not publicly available
       information that can be obtained anywhere other than from Verizon or the
       Government, respectively.

    E. I am also aware of the various excuses and objections raised by the Verizon and the
       Government. I have worked with Mr. Turner to resolve those disputes over the past
       several months. First, by narrowing topics where possible; second, by specifically
       identifying a limited number of IP addresses and "selectors" to be used as search
       terms by Verizon and the Government, respectively; third, by providing at a list of
       relevant systems of record to be searched by the Government; fourth, by tailoring
       search parameters for the Government to use in the search of its systems of record;
       and, finally, offering for our forensic team to meet with Government experts to work
       through the search process to ensure that the burden is reduced, and the scope kept
        as narrow as necessary, yet, is carried out such as to ensure that identification of the
        actors involved is the focus of the work.

     F. In drafting the requests for information, I have used my experience and knowledge
        of systems, including my experience with the Government's systems, to ensure that
        the burden and cost of the requests were reasonably tailored to seek only readily
        available and searchable information with the goal of minimizing the effort necessary
        to reach the forensic Team' s objective. Moreover, in support of my forensic

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         investigation for Plaintiffs and their counsel, l have not utilized any of the classified
         information that was disclosed to me during my work for DoD, NSA, or CIA.
         However, I have reviewed relevant classified materials that were widely published
         by the news media (including, among others, the New York Times, Wall Street
         Journal, Washington Post, and Guardian newspapers), and de-classified materials
         released by the Government.

      G. Although I am in no position to comment on Verizon's internal operations, I am
         familiar with computer systems and telecommunications carrier operations well-
         enough to know, understand, and comprehend the costs, burden and effort involved
         in certain requests, especially as to Government operations, assets and resources;
         including those deployed at, and interfacing with, Verizon's data centers and
         networks .

   UNDER PENALTY OF PERJURY, THE DECLARANT STATES NOTHING FURTHER.




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